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     District of Nevada
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 7
                                   UNITED STATES DISTRICT COURT
 8                                  FOR THE DISTRICT OF NEVADA

 9
     UNITED STATES OF AMERICA,                         Case No. 2:20-mj-00859-EJY
10
                    Plaintiff,
11                                                     Stipulation to Continue the Preliminary
                            v.                         Examination Date and Exclude Time Under
12                                                     the Speedy Trial Act
     YARO ORTIZ,
                                                       (Tenth Request)
13                  Defendant.
14

15          IT IS HEREBY STIPULATED AND AGREED by and between, CHRISTOPHER
16   CHIOU, Acting United States Attorney, District of Nevada, through Shaheen P. Torgoley,
17   Assistant United States Attorney, representing the United States of America, and David
18   Chesnoff, Esq. and Richard Schonfeld, Esq., representing Defendant Yaro Ortiz, that the
19   Preliminary Examination date in the above captioned case, which is currently scheduled for
20   October 19, 2021, at 4 PM, be continued to a date and time convenient for the Court but not less
21   than 60 days from the current setting. The parties also stipulate to an extension of the 30-day
22   period under 18 U.S.C. § 3161(b) in which an indictment or information must be returned.
23   1.     Based on the public health emergency brought about by the COVID-2019 pandemic, the
24          required social-distancing measures as recognized in the Temporary General Orders, and
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 1         the need for additional time to prepare the defense, both during the public health

 2         emergency and once the public health emergency is resolved, the parties agree to

 3         continue the currently scheduled Preliminary Examination on October 19, 2021, to a

 4         date and time convenient for the Court, but not less than 60 days from the current

 5         setting.

 6   2.    This continuance is not sought for purposes of delay, but to account for the necessary

 7         social-distancing in light of the COVID-2019 public health emergency, and to allow the

 8         defense adequate time to prepare during the public health emergency and following its

 9         resolution.

10   3.    Denial of this request could result in a miscarriage of justice, and the ends of justice

11         served by granting this request outweigh the best interests of the public and the defendant

12         in a speedy trial.

13   4.    The government extended a formal plea offer which, following several conversations, the

14         parties believe the defendant will enter.

15   5.    Defense continues to investigate the matter in order to advise the defendant.

16   6.    The defendant is at liberty and does not object to the continuance.

17   7.    This is the parties’ ninth request to continue the Preliminary Examination date.

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 1   8.    The additional time requested by this stipulation is excludable in computing the time

 2         within which the trial must commence pursuant to the Speedy Trial Act, Title 18, United

 3         States Code, Sections 3161(h)(7)(A), and considering the factors under Title 18, United

 4         States Code, Section 3161(h)(7)(B)(i) and (iv).

 5

 6         DATED this 14th day of October, 2021.

 7

 8   CHRISTOPHER CHIOU
     Acting United States Attorney
 9
     /s/ Shaheen P. Torgoley                            /s/ Richard Schonfeld
10   SHAHEEN P. TORGOLEY                                RICHARD SCHONFELD, ESQ.
     Assistant United States Attorney                   DAVID CHESNOFF, ESQ.
11                                                      Counsel for Defendant

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 1                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                           )       Case No. 2:20-mj-00859-EJY
                                                         )
 4                          Plaintiff,                   )       Findings and Order on Stipulation
                                                         )
 5        v.                                             )
                                                         )
 6   YARO ORTIZ,                                         )
                                                         )
 7                         Defendant.                    )

 8
               Based on the pending Stipulation between the defense and the government, and good
 9
     cause appearing therefore, the Court hereby finds that:
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     1.        To account for the necessary social-distancing in light of the COVID-2019 public health
11
               emergency and to allow the defense adequate time to prepare during and following the
12
               resolution of this public health emergency, the Preliminary Examination date in this case
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               should be continued.
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     2.        The parties agree to this continuance.
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     3.        The defendant is at liberty and does not object to the continuance.
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     4.        This continuance is not sought for purposes of delay.
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     5.        Denial of this request could result in a miscarriage of justice, and the ends of justice
18
               served by granting this request outweigh the best interest of the public and the defendants
19
               in a speedy trial.
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     6.        The Speedy Trial Act’s indictment clock under 18 U.S.C. § 3161(b) is extended to the
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               Preliminary Hearing date set below.
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     7.        The additional time requested by this stipulation is excludable in computing the time
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               within which the trial must commence pursuant to the Speedy Trial Act, Title 18, United
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            Case 2:20-mj-00859-EJY Document 29 Filed 10/15/21 Page 5 of 5




 1         States Code, Sections 3161(h)(7)(A), and considering the factors under Title 18, United

 2         States Code, Section 3161(h)(7)(B)(i) and (iv).

 3         THEREFORE, IT IS HEREBY ORDERED that the Preliminary Examination in the

 4   above-captioned matter currently scheduled for October 19, 2021 be vacated and continued to

     Monday, December 20, 2021, at the hour of 4:00 P.M., in a courtroom to be determined.
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 6
           DATED this 15th day of October, 2021.
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 9                                             ____________________________________
                                               HONORABLE ELAYNA J. YOUCHAH
10                                             United States Magistrate Judge

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